           Case 1:19-cr-10080-NMG Document 699 Filed 12/18/19 Page 1 of 12



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA

            v.
                                                                No. 1:19-cr-10080-NMG
 DAVID SIDOO et al.,

            Defendants.


                 DEFENDANT JOHN WILSON’S SUPPLEMENTAL MOTION TO
                   COMPEL PRODUCTION OF EXCULPATORY EVIDENCE

                                       I.      INTRODUCTION

          Defendant John Wilson, joined by other defendants, 1 hereby (a) joins in the motion to

compel submitted by defendants Giannulli and Loughlin, ECF No. 693 (the “Giannulli Motion”);

and (b) moves further to compel production of the additional categories of exculpatory evidence

discussed below. To avoid repetition, this brief incorporates by reference the background and

law described in the Giannulli Motion.

          The government has implausibly denied that it possesses any exculpatory evidence, and

has rejected wholesale the defendants’ requests for specified categories of exculpatory evidence.

See Ex. 1 (previously filed at ECF No. 693-2). Several categories of exculpatory evidence carry

special importance to Wilson’s defense. As the indictment recognizes, Wilson did not pay a

single dollar as a bribe to any individual. Of the $200,000 Wilson intended to donate to USC,

Rick Singer stole half; USC received the other half as planned, acknowledging the gift in an

official thank-you letter. Ex. 2. When USC classified Wilson’s son as a water-polo recruit,




    1
    The following defendants (through counsel) join this motion: David Sidoo, Gregory
Colburn, Amy Colburn, Gamal Abdelaziz, Diane Blake, Todd Blake, Joey Chen, Mossimo
Giannulli, Elisabeth Kimmel, Lori Loughlin, Homayoun Zadeh, and Robert Zangrillo.

 12/18/2019 19:16
 AMERICAS 101660086
           Case 1:19-cr-10080-NMG Document 699 Filed 12/18/19 Page 2 of 12



Wilson had no reason to suspect misconduct: His son was a highly competitive high-school and

club water-polo player, who in fact joined USC’s team as planned. Ex. 3. And when Singer and

Wilson subsequently discussed possible donations to Harvard and Stanford, Singer assured

Wilson (in a Title III-recorded conversation) of the propriety of such donations, reporting that

the President of Harvard was on board:

          [T]hat’s why I’m going to Harvard next Friday, because the President wants to do
          a deal with me, because he found out that I’ve already got four already in, without
          his help, so he’s like . . . why would you go to somebody else if you could come
          to me?

Ex. 4, at 8. Wilson now understands that Singer had no such conversation with the President of

Harvard. This was just one of the many false statements Singer made to soften up his marks for

his con.

          Wilson is entitled to the categories of evidence discussed below, all of which defendants

requested from the government, in order to defend himself and establish his innocence.

                      II.     ADDITIONAL CATEGORIES OF EXCULPATORY EVIDENCE

          A.          Singer’s Descriptions of His Practices

          The Giannulli Motion explains the significance of Singer’s statements to his clients about

who would be receiving their money. ECF No. 693, at 8-15. 2 Similarly important to the charges

are Singer’s more general explanations about his donation-related strategies. See Ex. 1 ¶¶ 3-7.



    2
     The government has argued that it does not matter whether the defendants’ money was
intended to be delivered to USC or to individual employees. The cases that the government cites
do not support that view. Generally, those cases involve defendants who betrayed fiduciary
duties in exchange for payments to their relatives, businesses, or preferred charities. See United
States v. DeMizio, 741 F.3d 373 (2d Cir. 2014) (payments to “family, friends, or others loyal to
the defendant”); United States v. Hausmann, 345 F.3d 952 (7th Cir. 2003) (payments to
individuals who had provided services to the defendant, to a firm working for the defendant, to
businesses in which the defendant held interests, and to charities that the defendant supported).
And in the case the government identified most recently, the Second Circuit reversed a
conviction where the defendant was not “paid to act in breach of his duties,” such that the

 12/18/2019 19:16
 AMERICAS 101660086                                  2
           Case 1:19-cr-10080-NMG Document 699 Filed 12/18/19 Page 3 of 12



          The context for such discussions was the standard-issue college-counseling services that

Singer provided: advising families about which colleges to apply to, tutoring applicants for

standardized tests, reviewing draft application essays, and tracking the application process.

Against the backdrop of such relationships, Singer gave clients additional advice about making

potentially impactful donations to colleges. One of his insights was that specific college

programs and teams would be more appreciative of relatively modest donations than centralized

development offices. At USC, for example, all but the largest athletic teams received limited

budgets, and covered the remainder of their expenses through independent fundraising. To

support such efforts, aimed both at applicants’ families and others, USC stationed more than a

dozen full-time development officers (i.e., fundraisers) within the athletic department. See Ex. 5.

Singer believed that the staff responsible for smaller teams and programs were more likely than

the university-wide development office to advocate for the admission of an applicant related to a

team-specific donor.

          Singer called the practice of donating moderate amounts to specific programs a “side

door” to admission. He assured clients and potential clients that such donations, and their

potential impact on admission, were common, lawful, and endorsed by the colleges. For

instance, Singer wrote to one parent:

          There is a side door in most schools as I did 409 of them last year—which means
          you support the school at a lot lesser cost than through institutional advancement.

Ex. 6. Singer told another parent:




“element of corruption [was] not present.” United States v. Dixon, 536 F.2d 1388, 1400-01 (2d
Cir. 1976). It would be both unprecedented and illogical to view a donation to an employer, such
as USC, as a bribe to the employee, such as a coach, in derogation of the employee’s
employment duties.

 12/18/2019 19:16
 AMERICAS 101660086                                3
           Case 1:19-cr-10080-NMG Document 699 Filed 12/18/19 Page 4 of 12



          [S]ide door is not improper nor is back door[,] both are how all schools fund their
          special programs or needs.

Ex. 7. And as noted supra, Singer told Wilson (falsely) that the President of Harvard supported

the “side door” practice and wished to personally negotiate additional side-door donations.

          Singer’s representations to clients about the legitimacy of “side door” donations directly

rebut the government’s allegations that they acted “with bad purpose, either to disobey or

disregard the law,” and in a “wrongful, immoral, depraved, or evil” manner. See 1st Cir. Pattern

Jury Instructions § 4.18.134 (defining “willfully”); Arthur Andersen LLP v. United States, 544

U.S. 696, 705 (2005) (defining “corruptly”). It is impossible to believe that the government did

not discuss this topic with Singer. The defendants are entitled to any evidence arising from those

discussions in the government’s possession.

          B.          Singer’s Referral Sources

          For similar reasons, the defendants are entitled to evidence about Singer’s efforts to foster

sources of referrals to his college-consulting business. Families such as the Wilsons received

their introductions to Singer from highly reputable financial or educational advisors. Many were

affiliated with the most respected financial institutions or high schools in the United States.

Singer caused such contacts to portray him as reliable, professional, and expert. Through such

introductions, Singer minimized the likelihood of clients doubting his representations regarding

the legitimacy of his practices.

          Title III recordings produced in discovery show that Singer devoted time and energy to

developing his relationships with his referral sources. The discovery does not, however, reveal

the full magnitude or character of those relationships, including the extent to which Singer’s

references were familiar with his practices, and the degree to which they benefitted financially




 12/18/2019 19:16
 AMERICAS 101660086                                4
           Case 1:19-cr-10080-NMG Document 699 Filed 12/18/19 Page 5 of 12



(or otherwise) from their referrals. The defendants specifically requested that information, Ex. 1

¶¶ 27-28, and the Court should compel the government to produce it.

          C.          Colleges’ Attitudes Toward Fundraising from Applicants

          To a significant degree, Singer’s representations to his clients were true. Colleges such

as USC were highly focused on fundraising, and openly supported the admissions cases of

potential donors’ family members. As the Giannulli Motion points out, “there is good reason to

believe that numerous USC officials were aware of Singer’s operation.” ECF No. 693, at 16, as

evidenced by the fact that Singer met with USC Athletic Director Pat Haden. USC’s more

general attitudes toward fundraising and admissions decisions are likewise important to the

defense.

          The government has charged the defendants with, among other things, depriving USC of

the honest services of its employees. With regard to defendants such as Wilson (whose money

did not go to any college employee), the government’s theory is that a college employee violated

fiduciary duties by fundraising for the college’s benefit. This far-fetched view is further

undermined by evidence that USC endorsed the precise type of fundraising at issue here, namely

supporting the admission of applicants related to actual or potential donors.

          The motion practice regarding defendant Robert Zangrillo’s subpoena to USC has placed

before the Court discovery documents showing that fundraising considerations influenced (a) the

admissions decisions of USC’s admissions office, and (b) the admissions recommendations of

USC’s athletic department. See ECF No. 546. For instance, spreadsheets listing applicants

supported by the athletic department, which the Dean of Admissions promised to “handle with

care,” regularly highlighted applicants’ ties to donors. See ECF Nos. 546-1 to 546-10. In one

memorable instance, Donna Heinel reported to the Dean that an applicant’s family “came

through Athletics due to father endowing our community services position for 5 mil.,” to which

 12/18/2019 19:16
 AMERICAS 101660086                                5
           Case 1:19-cr-10080-NMG Document 699 Filed 12/18/19 Page 6 of 12



the Dean responded: “I have just been directed to admit this student.” ECF No. 546-14. USC

was so fixated on fundraising from parents that—with “approv[al] by compliance” and by

Haden, the Athletic Director—the athletic department offered to grant an athletic scholarship to

the daughter of a donor in connection with his promise to make a $500,000 gift. Ex. 8. 3 The

discovery contains numerous other examples of USC’s pro-donor admissions philosophy, dating

back at least to 2007.

          USC’s readiness to support the application cases of potential donors directly negates the

allegation of a conspiracy to deprive USC of its right to honest services. There could be no such

conspiracy where the relevant USC personnel were doing exactly what USC wanted. Likewise,

any misrepresentation or omission by a USC employee to other USC personnel concerning an

applicant-related donation was not “material” where USC sanctioned the very practice of

soliciting such donations. See 1st Cir. Pattern Jury Instructions § 4.18.1343.

          It is not plausible that the government has refrained from discussing this topic with

witnesses from USC, the purported victim. Information from those witnesses consistent with the

attitude consistently displayed in the discovery is exculpatory. 4 The defendants made specific

requests relating to this topic, Ex. 1 ¶¶ 16-24, as well as requests for related internal

investigations, id. ¶¶ 25-26. The Court should compel compliance with these requests. 5



    3
        In effect, USC allowed the donor to receive a tax deduction for his daughter’s tuition costs.
    4
    Documents inconsistent with that attitude are “material to preparing the defense” within the
meaning of Rule 16.
    5
     Among other information, such requests would necessarily cover (a) the identities of all
students known to the government to have benefitted from USC’s practice of favoring the
applications of potential donors; and (b) any communications known to the government among
USC personnel, or between USC personnel and Singer, about the candidacies of Johnny Wilson
or other defendants’ children. Personal identifying details in such information would
presumably be governed by the Protective Order (ECF No. 377).

 12/18/2019 19:16
 AMERICAS 101660086                                6
           Case 1:19-cr-10080-NMG Document 699 Filed 12/18/19 Page 7 of 12



          D.          Singer’s Concealment of His Misrepresentations

          The charges require the government to prove that the defendants intended to deceive the

alleged victim(s). See 1st Cir. Pattern Jury Instructions § 4.18.1343; United States v. Sawyer, 85

F.3d 713, 732 (1st Cir. 1996) (“a demonstrated intent to deceive is required”). To satisfy this

requirement, the government relies on inaccuracies in applicants’ application materials,

principally relating to athletics. Wilson disputes the government’s theory as legally and factually

inadequate. But in any event, any inaccuracies could at most inculpate only defendants who

knew about them, believed that they were material, and intended the admissions decision-makers

to rely on them to the schools’ detriment.

          As noted supra, Wilson’s son was a high-caliber swimmer and water-polo player at the

high-school and club levels. Indeed, the government has collected information from U.S. Water

Polo about the son’s water polo career, which shows (among other things) that he was selected

for the U.S. Olympic Development Program and competed in national championships. See Ex.

9. It was reasonable for Wilson to expect that his son would be supported for admissions as a

bona fide water-polo walk-on.

          The discovery indicates that Singer and those working with him were able to introduce

misinformation into applicants’ materials by taking control of those materials—collecting

applicants’ log-in credentials, and then revising applications on their own. The defendants

requested additional evidence relating to such practices and thus rebutting the government’s

allegations of intent to deceive. Ex. 1 ¶¶ 8, 11. Again, it is impossible to believe that the

government has not discussed this topic with Singer and his staff. Evidence resulting from these

discussions is exculpatory and discoverable.




 12/18/2019 19:16
 AMERICAS 101660086                                7
           Case 1:19-cr-10080-NMG Document 699 Filed 12/18/19 Page 8 of 12



          E.          Singer’s Embezzlement from His Clients

          The government maintains that the defendants conspired with Singer for 12 years, from

2007 to 2019. 3d Supers. Ind. ¶ 57. The charges against each defendant rely on the theory that

Singer acted in harmony and concert with his clients—that the clients were full and willing

participants in his tactics.

          The discovery belies this worldview. First, numerous recordings and documents show

Singer lying to his clients about a myriad of topics, such as his business operations and his

professional relationships. Moreover, financial records in discovery have revealed that Singer

embezzled money that he had promised to deliver as donations. The government acknowledged

as much at a recent sentencing, saying with ironic understatement that Singer “did not disclose

his middleman fee.” United States v. Bizzack, No. 19-cr-10222, ECF No. 34, at 25. In Wilson’s

case, for instance, Singer represented that he would receive no compensation relating to Wilson’s

USC donation, prompting Wilson to pay Singer another $20,000. See 3d Supers. Ind. § 200.

Wilson learned only from the discovery that Singer had secretly stole another $100,000—half of

Wilson’s intended donation to USC.

          The defendants requested evidence about Singer’s embezzlement of their money, as well

as his efforts to prevent them from learning about the fate of that money. Ex. 1 ¶¶ 12-15. That

evidence directly negates at least the allegations of conspiracy, is therefore exculpatory, and

must be produced.

          F.          Singer’s Obstruction and Instructions from the Government

          The government has alleged that, after agreeing to cooperate with the government and to

make recordings on its behalf, Singer obstructed justice by enabling certain of his coconspirators

to escape detection. At his Rule 11 colloquy, Singer clarified that the government had actually

directed him to create incriminating evidence against people who had not committed any crime:

 12/18/2019 19:16
 AMERICAS 101660086                                8
           Case 1:19-cr-10080-NMG Document 699 Filed 12/18/19 Page 9 of 12



“I went into the home and told the dad . . . you haven’t done anything wrong yet, so please don’t

say anything that would be harmful to you guys because you haven’t done anything . . . .”

United States v. Singer, No. 19-cr-10078, ECF No. 24, at 29.

          Singer’s consensual recordings of Wilson likewise reveal the government’s efforts to

manufacture arguably incriminating exchanges. Prior to Singer’s cooperation, as noted supra, he

had assured Wilson that his donations were approved by the President of Harvard. But

subsequently, when under the government’s control, Singer occasionally mentioned payments

“to coaches” in his calls with Wilson. The obvious purpose of this ambiguous phrase was to

permit the government to argue that Wilson’s payment was intended for an individual; but

Wilson’s reactions show that he continued, obliviously, to believe Singer’s earlier representation

that Wilson would be donating “to the school”:

          SINGER:       So I know when . . . we get the girls in it’s a done deal and you’re
                        going to take care of your part of it, you’re gonna make the
                        payments to the schools and the—to the coaches. And that’s what
                        I need . . . so I’m not worried about that.

          WILSON:       Uh, uh, help me understand the logistics? I thought I make the
                        payment to you and you made the payment to the school.

          SINGER:       Correct. That’s correct.

          WILSON:       Oh you said that I make the payments to the schools.

Ex. 10, at 9 (first, second, third, and fifth emphases added). This attempted manipulation

contrasts starkly with Singer’s statement to a different (and uncharged) parent, eight days later,

that “the Georgetown coach . . . wants me to wire him the $100,000 bribe.” Ex. 11, at 2. The

disparity between these conversations—both orchestrated by the government—reveals that

Singer knew that Wilson would never have agreed to bribery, and that only vaguely worded

trickery could draw Wilson into conversational exchanges potentially useful to the government.




 12/18/2019 19:16
 AMERICAS 101660086                                9
          Case 1:19-cr-10080-NMG Document 699 Filed 12/18/19 Page 10 of 12



          Both Singer’s alleged obstruction and the government’s instructions to him are

discoverable. Duplicitous conduct by Singer relating to his cooperation would undermine the

prosecution’s theory of a single mega-conspiracy among dozens of charged and uncharged

persons. And the government’s instructions to Singer about his cooperation would undermine

both Singer’s account and his consensual recordings, by exposing the prosecution’s manipulative

efforts to ensnare innocent conduct in this case. The defendants therefore requested these two

categories of evidence, which are necessarily in the government’s sole possession. Ex. 1

¶¶ 29-30. The Court should compel compliance with those requests. 6

          G.          Promises, Rewards, and Inducements

          Summaries and copies of promises, rewards, and inducements to likely witnesses are a

category of exculpatory evidence required expressly by Local Rule 116.2(b)(1) and requested

specifically by the defendants. Ex. 1 ¶ 31. The government has maintained that it possesses no

such evidence, see ECF No. 693-1, at 8, but that position is not believable. Sentencing courts

have repeatedly postponed the sentencing hearings of several cooperating witnesses. Trial will

center around Singer, and will require testimony from USC as the victim. Yet the discovery

reveals potential exposure for at least Singer and USC, including exposure that no agreements

disclosed by the government address: Singer and several of his family members engaged in tax

evasion and money laundering, running cash from the gambling-related business of Singer’s

brother through one of Singer’s charitable organizations:

          [Singer:] I do have a brother . . . he’s in the credit card business . . . anybody who
          gambles off shore . . . comes to him . . . [H]e makes a lot of money but he also
          makes a lot of cash. . . . [Y]ou can’t put the cash in the bank. . . . And what he
          does is like when we’re doing the Oakland Soldier gig . . . and we have to put four


    6
     The defendants reserve the right to make additional, specific requests of the government
regarding the circumstances surrounding Singer’s alleged obstruction.

 12/18/2019 19:16
 AMERICAS 101660086                                10
          Case 1:19-cr-10080-NMG Document 699 Filed 12/18/19 Page 11 of 12



          or five hundred thousand dollars into the facility to upgrade it . . . we’ll pay that to
          the contractors cash. . . . That’s how he gets to utilize his money.

See Ex. 12, at 6-7. 7 USC, as well as some of its employees, likely violated tax laws through the

practice of recycling donations into scholarships for at least one donor’s child. See Ex. 8. The

Court should compel the government to comply with its obligations under Brady and the Local

Rules.

                                          III.    CONCLUSION

          For the foregoing reasons, the Court should order the government to produce all

exculpatory evidence within its possession, custody, or control, including all documents and

information responsive to the requests enumerated in Exhibit 1.



 Respectfully submitted:

 John Wilson,

 By his counsel,

 /s/ Michael Kendall
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 And the defendants listed supra note 1, by their respective counsel.




    7
     Singer also apparently placed his infirm father and his father’s caregiver on the payroll of
his college counseling business. See Ex. 13.

 12/18/2019 19:16
 AMERICAS 101660086                                 11
          Case 1:19-cr-10080-NMG Document 699 Filed 12/18/19 Page 12 of 12




          CERTIFICATE OF COMPLIANCE WITH LOCAL RULES 7.1 AND 112.1

         I hereby certify that, before filing this motion, defense counsel attempted in good faith to
confer with the government to resolve or narrow the issues. Defense counsel’s efforts included a
letter asking the government to identify the issues “actually in dispute” and emails requesting an
in-person conference. The prosecutors declined to narrow the issues and stated that they
“believe [they] have satisfied [their] meet-and-confer obligations.”
                                              /s/ Michael Kendall
                                              Michael Kendall


                                 CERTIFICATE OF SERVICE

       I hereby certify that the above document is being filed on the date appearing in the header
through the ECF system, which will send true copies to the attorneys of record.
                                              /s/ Michael Kendall
                                              Michael Kendall




 12/18/2019 19:16
 AMERICAS 101660086                              12
